   Case 1:24-cv-00246-RDB                  Document 106-8              Filed 11/25/24   Page 1 of 8



                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

-----------------------------------------------------------------------X
BULLSEYEBORE, INC.

                                   Plaintiff,
                                                                               Civil Action No.:
          -against-                                                          1:24-cv-00246-RDB

LANDBASE TRADING CO. LTD, et. al.

                                     Defendants.
-----------------------------------------------------------------------X

                                 DECLARATION OF ANGYANG LIN
          I, Angyang_Lin, declares as follows:

        1.     My name is Angyang_Lin, I am the Chief Executive Officer ( CEO ) of Shenzhen

Jiuan Yunchen Network Technology Co., Ltd.

for the PayPal Account: Anskycehnjui@outlook.com, and maintains the domain name:

olarglscal.com

        2.     I have worked as the CEO for the Company for 3 years, and am familiar with the

daily management of company departments, formulating company business objectives,

implementing departmental tasks, ensuring efficient work execution, formulating company

development strategies, creating corporate culture, and presiding over the Company s daily

business activities.

                                     NATURE OF THE COMPANY

        3.     Shenzhen Jiuan Yunchen Network Technology Co., Ltd. is an e-commerce

company that engages in the sales of various miscellaneous products to interested buyers around

the world.


                                                         1
   Case 1:24-cv-00246-RDB             Document 106-8         Filed 11/25/24        Page 2 of 8



       4.    Company was founded in January 2021. It is headquartered in Shenzhen, China.

We have no offices, employees, sales representatives, or real property in Maryland. We have no

registered agents in Maryland, are not registered to do business in Maryland, have no bank

accounts in Maryland and have never filed any Maryland tax returns.

       5.    The Company sells approximately 1,000 different products.

       6.    The Company sells these products through olarglscal.com.

       7.    The Company has an Operations Team which is in charge of determining what

                                                                                            -

commerce websites and examine the products that are sold or that seem popular.

       8.    If they identify any products which look promising, they would notify our




Wuhan Gufengda Network Technology Co..

       9.    The outsourcing service provider undertakes a series of service outsourcing,

including product procurement, warehousing, arranging personnel for packing, shipping, etc.

Therefore, our Company does not directly purchase or store products itself.

       10.   I believe our Operations Team first identified these products as a popular item

because we saw a lot of different e-commerce companies selling them. Because they were

available on multiple platforms, we did not think that it would be an issue to also sell the same

products as it did not seem any one company had exclusive rights.




                        SALES OF ALIGNDRILL PRO PRODUCTS

       11.                                                                                      on


                                                 2
   Case 1:24-cv-00246-RDB            Document 106-8          Filed 11/25/24       Page 3 of 8



January 12, 2024, with the earliest sales occurring on January 12, 2024 and the latest sale on

January 12, 2024.

       12.   We have had 0 sales in the State of Maryland.

       13.   Attached as Exhibit A to this declaration are the full and complete sales records we




       14.   We have never

aware of the company Bullseyebore or their products.

       15.   These records were generated by the Operations Team, who accessed the backend




name, specific brand keywords, and broader category-

                       hey manually reviewed the search results against images of the allegedly

infringing products, pinpointing matches by their appearance or use of similar brand keywords.

Each product identified was linked to a unique website address and compiled into a list of

landing pages. These addresses facilitated precise backend searches to comprehensively track all

allegedly infringing orders and systematically compile them into a spreadsheet.

       16.   These records are full and complete, and they identify each and every order placed,

the date the order was placed, the total revenue generated, and where the orders were delivered.

We have modified the records only to omit the personal home address and the names of the

buyers to preserve the privacy of the individual customers who are not parties to this lawsuit.

       17.

products in the United States was $0, and in Maryland was $0.

       18.   We have checked these numbers thoroughly and can confirm that they constitute all


                                                 3
   Case 1:24-cv-00246-RDB              Document 106-8        Filed 11/25/24       Page 4 of 8



the orders which were made.

       19.   For each of these sales, the costs of the goods sold, as charged to us by the Wuhan

Gufengda Network Technology Co., Ltd. amounted to $20.06. This total includes a product

purchase cost of $9.58, logistics cost of $8.52, and a packaging fee of $1.96.

       20.   Based on this, the gross profits derived from the sale of the allegedly infringing

products was $-21.48.

       21.   To our knowledge, the goods that we sold and advertised were sold under the mark:




                                                                                         nywhere

in the product description.

       22.   We have never purchased any products from Bullseyebore, and to our knowledge, it

is still not possible to purchase any products because we have been informed by our attorneys

that Bullseyebore does not have any final products available for sale. Therefore we cannot

compare any the AlignDrill Pro products with the Bullseyebore products to see if they are the

same or different or if the quality is better or worse.

                              ADVERTISING AND MARKETING

       23.   The Company advertises and has advertised allegedly infringing products on

Facebook.

       24.   We were able to obtain from the Meta/Facebook Ad Manager certain detailed

records for the products and advertising.

       25.   When advertising on Facebook, we do not target any specific states or cities. We in

fact include all countries in our advertising campaign because we offer international shipping


                                                   4
   Case 1:24-cv-00246-RDB               Document 106-8        Filed 11/25/24       Page 5 of 8



and as a result we have a fair number of global sales on our products generally.

       26.     We only advertise our products through the Meta Ad Manager. We do not advertise

on Tik-Tok, Pintrest, X (or Twitter).

       27.     According to our records, the total amount of money that was spent on Facebook

Ad-Managers for advertising for the AlignDril products was $54.92. This amount should be

further deducted from the revenues generated as a cost associated with generating the revenue.

                           NO CONTINUED HARM TO PLAINTIFF

       28.     Since we first discovered the lawsuit, when this Court issued the initial temporary

restraining order, we have permanently discontinued the sale of all AlignDrill Pro products on

our website.

       29.     We have had no sales since that took place.

       30.     We have permanently removed all AlignDrill Pro products and advertising from our

domain names. We no longer have any advertisements of AlignDrill Pro products.

       31.     At the present moment, we have no remaining units of the allegedly infringing

products contained in a warehouse. The warehouse is owned by the Wuhan Gufengda Network

Technology Co., Ltd.

       32.     There is no ongoing harm to Plaintiffs. We have voluntarily but permanently




irrespective of the outcome of this case.

                  HARM TO THE COMPANY FROM ASSET RESTRAINT

       33.

PayPal account was frozen. This resulted in a total asset freeze of $151,648.63.


                                                  5
   Case 1:24-cv-00246-RDB             Document 106-8             Filed 11/25/24     Page 6 of 8



       34.   As a company that sells thousands of products, the sales from AlignDrill Pro

products represents only a tiny fraction of our overall sales.

       35.                                                                                    . The

Company is unable to pay the office rent and has been warned multiple times by the landlord. If

the rent cannot be paid on time in the future, the Company may have to relocate from the current

office location.

       36.   Because of this asset restraint, we have not been able to use those funds to acquire

and offer additional products for sale, or invest in Facebook advertising campaigns for our other

products, or to use those funds in any other aspects of our business. These are just a few of the

many ways that the money in the account could have been used by the Company.

       37.   The harm that our company has incurred has been significant.

       38.   One simple way to measure the harm is that the money as frozen in PayPal does not

collect any interest. From the time of the initial freeze January 2024 to present, the money would

have accrued 8 months of interest which at 9% would have come out to $9,098.9.

       39.   For these reasons, we ask that the Court, to the extent that it issues any injunction at

all, takes into account the documents and numbers produced, issues a properly tailored

injunction, and also award to our Company a portion of the bond for damages sustained because




                     RETAINING COUNSEL FOR REPRESENTATION

       40.   Our firm hired DGW Kramer LLP to represent us in this matter. This is a law firm

that has a good reputation, is known to us, has staff that understands, speaks, and reads

Mandarin/Chinese, and is familiar with our company and our practices.


                                                  6
   Case 1:24-cv-00246-RDB                 Document 106-8     Filed 11/25/24       Page 7 of 8



       41.   They have previously represented us in this and other cases. We have never

operated in Maryland and are unfamiliar with the attorneys there and have no relationship with

any attorneys in Maryland.

       42.   After the Court indicated that only attorneys who are licensed to practice in the

Maryland Federal Court may represent them, it is our understanding that our counsel proceeded

to obtain admission to the Maryland Federal Court. Now that they have become admitted, we are

now once again represented by attorneys who can now speak on our behalf.

                                          MISCELLANEOUS

       43.   This declaration was translated to me into Mandarin.

       44.   I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.




                                                 7
Case 1:24-cv-00246-RDB   Document 106-8   Filed 11/25/24   Page 8 of 8
